Case 19-12097-mdc     Doc 78      Filed 02/19/21 Entered 02/19/21 14:42:59           Desc Main
                                  Document Page 1 of 1



                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE:     Joseph Walker                   :          CHAPTER 13

                    Debtor                 :          BANKRUPTCY NO. 19-12097


                                           ORDER


         AND NOW, this     19th   day of       February   , 2021, upon consideration of Debtor’s

application for an extension of time to file the documents and information required by

the Procedural Order of January 28, 2021 Governing Procedures a Evidentiary Hearing

Conducted Remotely by Video Conference it is hereby ORDERED that said application

is GRANTED and that the debtor shall have until on or before March 11, 2021 in which

to file and serve the required documents and to provide the information required by

that Order.


                                           Magdeline D. Coleman
                                           Chief U.S. Bankruptcy Judge
